           Case 3:13-cr-01049-WQH                         Document 49                  Filed 05/28/13              PageID.94           Page 1 of 2

    ~AO 245B (CASD) (Rev. 12/ 11) Judgment in a Criminal Case
               Sheet I




                                              UNITED STATES DISTRICT                                         COUR~3 Ri;;s£p~ 3: 24      1 h ' eTC DI.) R T
                                                  SOUTHERN DISTRICT OF CALIFORNIA                          , . c. <:::.L'f UI\N I:.
                                                                                                                                 "

                    UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                        v.                                           (For Offenses Committed On or After November 1, 19 ~PUT Y

                     AUGUSTO DIAZ-ALONSO (2)                                         Case Number: 13CR1049-WQH

                                                                                     NORMA AGUILAR, FEDERAL DEFENDERS
                                                                                     Defendant 's Attorney
    REGISTRATION NO. 38490298

    o
    THE DEFENDANT:
    Ig] pleaded guilty to count(s) _2_0_F_T_H_E_I_N_f_O_RM_A_T_I_O_N_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    o     was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                          Nature of Offense                                                                             Number(s)
8 USC 1326                            DEPORTED ALIEN FOUND IN THE UNITED STATES                                                             2




        The defendant is sentenced as provided in pages 2 through                2              of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o   The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  o Count(s)                                                                           is   0      areO dismissed on the motion of the United States.

  181 Assessment: $100.00 - WAIVED


  181 Fine waived                                   o    Forfeiture pursuant to order filed                                     , included herein.
       IT IS ORDERED that the defendant shaIl notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               MAY 28, 2013




                                                                               UNITED STATES D

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AO 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                              Judgment -- Page   2    of      2
 DEFENDANT: AUGUSTO DIAZ-ALONSO (2)
 CASE NUMBER: 13CRI049-WQH
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED




    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    o    The defendant is remanded to the custody of the United States Marshal.

    o    The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Da.m.     Dp·m.         on
               as notified by the United States Marshal.

     o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          o    before
                        ------------------------------------------------------------------------
          o    as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.



                                                                RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                    to

 at ___________________ , with a certified copy of this judgment.


                                                                                             UNITED STATES MARSHAL

                                                                       By ____________________~--~~---------
                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                                     13CRI049-WQH
